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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

John Doe
                                    Plaintiff,
v.                                                      Case No.: 1:18−cv−07335
                                                        Honorable Gary Feinerman
Loyola University Chicago
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, February 4, 2019:


        MINUTE entry before the Honorable Gary Feinerman: Initial written discovery
requests shall be served by 3/31/2019. Fact discovery shall close 9/30/2019. Rule 26(a)(2)
disclosures shall be served by 11/4/2019. Rebuttal Rule 26(a)(2) disclosures shall be
served by 12/2/2019. Dispositive motions shall be filed by 12/13/2019. Motions to amend
the pleadings or add new parties shall be filed by 7/31/2019. Defendant's motion to
dismiss [27] is entered and continued. Plaintiff shall respond to the motion by 2/25/2019;
Defendant's reply due by 3/11/2019. Motion hearing set for 2/5/2019 [30] is stricken. The
status hearing set for 2/5/2019 [29] is stricken and re−set for 3/14/2019 at 9:00 a.m.Mailed
notice.(jlj, )




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